    Case: 1:20-cv-07097 Document #: 48 Filed: 01/07/22 Page 1 of 2 PageID #:741




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ABC DIAMONDS INC.,                                )
Individually and on behalf of all others          )
similarly situated                                )
                                                  )      Case No. 1:20-cv-07097
       Plaintiff,                                 )
                                                  )      Honorable Gary Feinerman
       v.                                         )
                                                  )
HARTFORD CASUALTY                                 )
INSURANCE CO.                                     )
                                                  )
       Defendant.                                 )

                                     NOTICE OF APPEAL

       NOTICE IS HEREBY GIVEN that Plaintiff, ABC DIAMONDS INC., hereby appeals to

the United States Court of Appeals for the Seventh Circuit from the Memorandum Opinion and

Order granting Defendant’s Rule 12(b)(6) Motion to Dismiss entered in this action on December

10, 2021.

Dated: January 7, 2022                     Respectfully submitted,

                                            /s/ Lisa B. Weinstein
                                           Lisa B. Weinstein
                                           M. Elizabeth Graham
                                           Adam J. Gomez
                                           GRANT & EISENHOFER P.A.
                                           30 N. LaSalle Street, Suite 2350
                                           Chicago, IL 60602
                                           T: (312) 610-5350
                                           lweinstein@gelaw.com
                                           egraham@gelaw.com
                                           agomez@gelaw.com
    Case: 1:20-cv-07097 Document #: 48 Filed: 01/07/22 Page 2 of 2 PageID #:742




                                CERTIFICATE OF SERVICE


        The undersigned hereby certifies that on January 7, 2022, I caused a true and correct copy
of the foregoing NOTICE OF APPEAL with the Clerk of Court using the CM/ECF system, which
sent notification of such filing to the following:


       Anthony J. Anscombe
       Cara A. Lawson
       STEPTOE & JOHNSON LLP
       227 West Monroe Ave., Suite 4700
       Chicago, IL 60606

       Sarah D. Gordon
       STEPTOE & JOHNSON LLP
       1330 Connecticut Avenue, NW
       Washington, D.C. 20036


                              B y:   /s/ Lisa B. Weinstein
                                     Lisa B. Weinstein
